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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                            MISSOULA DIVISION

 WILLIAM LOWREY HESSE II,                               CV-21-00048-M-DLC


                Plaintiff,
                                                               ORDER
       vs.

  STEVEN N. ESCHENBACHER and
  DONALD R. BELL,

                Defendants.

      Plaintiff William Lowrey Hesse II filed his Complaint on April 20, 2021,

alleging violations of his constitutional rights under 42 U.S.C. § 1983. (Doc. 2.)

This Court screened the Complaint and concluded that it failed to state a claim

upon which relief may be granted. (Doc. 8.) Hesse was given the opportunity to

amend, with a filing deadline of September 17, 2021, if he could do so. He has

failed to file an Amended Complaint.

      Therefore, it is HEREBY ORDERED:

      1.       For the reasons explained in the Court’s prior order, Plaintiff’s

Complaint is DISMISSED for failure to state a claim. Pursuant to 28 U.S.C. §

1915(e)(2)(B)(ii), Hesse’s filing of this action counts as one strike against him.

      2.       The Clerk of Court is directed to close this matter and enter judgment

pursuant to Rule 58 of the Federal Rules of Civil Procedure.
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      3.       The Clerk of Court is directed to have the docket reflect that the Court

certifies pursuant to Rule 24(a)(3)(A) of the Federal Rules of Appellate Procedure

that any appeal of this decision would not be taken in good faith.

      DATED this 3rd day of December, 2021.




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